Case No. 1:16-cr-00199-CMA       Document 18     filed 10/03/16   USDC Colorado        pg 1
                                         of 3




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 16-cr-00199-CMA


UNITED STATES OF AMERICA,

        Plaintiff,

v.

1. JOSE GERARDO VILLEGAS-TARIN,

        Defendant.


                      OBJECTION TO PRESENTENCE REPORT


        The United States, through the undersigned Assistant United States Attorney,

objects to portions of two paragraphs of the presentence report dated September 19,

2016.

        Paragraph 14: The footnote in this paragraph (fn. 1) inadvertently omits some of

the false tax returns upon which the parties’ agreement regarding restitution is based.

The complete list is included in the plea agreement on pages 8 and 9 in footnote 2

(footnote 2 in the plea agreement spans two pages).

        Paragraph 15: The presentence report states that “the defendant may not have

directly financially benefitted…” The agreed amount of restitution in this case is based,

in part, on the Defendant’s preparation of his own false tax returns in 2010 and 2011, as

reflected in fn. 2 of the plea agreement (“Jose Gerardo Villegas-Tarin and G.L.R. 2010

and 2011”). The tax returns reflect a combined direct financial benefit to the Defendant
Case No. 1:16-cr-00199-CMA     Document 18      filed 10/03/16   USDC Colorado     pg 2
                                       of 3




of approximately $12,711, as described in the Revenue Agent’s report produced in

discovery (Bates nos. 003953-003954).

      Respectfully submitted this 3rd day of October, 2016.

                                        ROBERT C. TROYER
                                        Acting U.S. Attorney


                                   By: J. Chris Larson
                                       J. Chris Larson
                                       Assistant United States Attorney
                                       United States Attorney’s Office
                                       1225 17th Street, Suite 700
                                       Denver, Colorado 80202
                                       Telephone: (303) 454-0100
                                       Fax: (303) 454-0409
                                       E-mail: J.Chris.Larson@usdoj.gov
                                       Attorney for the United States




                                           2
Case No. 1:16-cr-00199-CMA      Document 18      filed 10/03/16   USDC Colorado       pg 3
                                        of 3




                              CERTIFICATE OF SERVICE

        I hereby certify that on this 3rd day of October, 2016, I electronically filed the
foregoing OBJECTION TO PRESENTENCE REPORT using the CM/ECF system which
will send notification of such filing to the following e-mail address:

Joseph H. Thibodeau, Esq.
e-mail: law1@taxlit.com
Attorney for Jose Gerardo Villegas-Tarin


                                  s/Maggie E. Grenvik
                                  Maggie E. Grenvik
                                  Legal Assistant




                                            3
